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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

 STEPHEN SLAVENS, et al.,
                                             Case No. 2:20-cv-13047
              Plaintiffs,
                                             HONORABLE STEPHEN J. MURPHY, III
 v.

 MERITOR, INC., et al.,

              Defendants.
                                  /

             ORDER DISMISSING CASE WITHOUT PREJUDICE

      On August 25, 2021, Plaintiffs emailed the Court's chambers and disclosed that

that the parties had reached a settlement agreement. The Court will therefore

dismiss the case without prejudice and require the parties to file closing documents

to dismiss the case with prejudice no later than October 28, 2021. The Court will

retain jurisdiction to resolve any disputes over settlement matters, including

reopening the case if the settlement ultimately fails. The Court is most appreciative

of the parties' efforts to resolve the case and to keep the Court informed of

developments.

      WHEREFORE, it is hereby ORDERED that the case is DISMISSED

WITHOUT PREJUDICE.




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      IT IS FURTHER ORDERED that the Parties must FILE their closing

documents dismissing the case with prejudice no later than October 28, 2021.

      SO ORDERED.

                                     s/ Stephen J. Murphy, III
                                     STEPHEN J. MURPHY, III
                                     United States District Judge
Dated: August 26, 2021

I hereby certify that a copy of the foregoing document was served upon the parties
and/or counsel of record on August 26, 2021, by electronic and/or ordinary mail.

                                     s/ David P. Parker
                                     Case Manager




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